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 7 BECK
 8
                         UNITED STATES DISTRICT COURT
 9
                       CENTRAL DISTRICT OF CALIFORNIA
10
11
     SHERYN CAMPRONE,                             CASE NO. CV16-00885 Rnd(JCx)
12                                                Hon. Manuel L. Real - Ctrm. 8, 2 Fl
                       Plaintiffs,                Hon. Mag. Jacqueline Chooljian - Ctrm. 20, 3rd Fl
13
     v.
14                                                DEFENDANTS CITY OF LOS
   CITY OF LOS ANGELES, Police Officers           ANGELES AND CHIEF CHARLIE
15 CLIFFORD PROCTOR, JONATHAN                     BECK’S ANSWER TO
   KAWAHARA, Police Chief CHARLIE                 PLAINTIFF’S COMPLAINT FOR
16 BECK, in his individual and oficial            DAMAGES; DEMAND FOR JURY
   capacity; DOES 1 - 10, inclusive,              TRIAL
17
                     Defendants.
18
19
20        DEFENDANTS CITY OF LOS ANGELES and CHIEF CHARLIE
21 BECK, answer the Complaint for Damages for themselves and for no other parties,
22 admit, deny and allege as follows:
23
24                                   “INTRODUCTION”
25        1.     Answering this paragraph, Defendants lack sufficient information and
26 belief upon which to answer the allegations contained therein, and on that basis deny
27 the allegations.
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 1         2.    Answering this paragraph, Defendants lack sufficient information and
 2 belief upon which to answer the allegations contained therein, and on that basis deny
 3 the allegations.
 4         3.    Answering this paragraph, Defendants lack sufficient information and
 5 belief upon which to answer the allegations contained therein, and on that basis deny
 6 the allegations.
 7         4.    Answering this paragraph, Defendants lack sufficient information and
 8 belief upon which to answer the allegations contained therein, and on that basis deny
 9 the allegations.
10         5.    Answering this paragraph, Defendants lack sufficient information and

11 belief upon which to answer the allegations contained therein, and on that basis deny
   the allegations.
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          6.    Answering this paragraph, Defendants lack sufficient information and
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   belief upon which to answer the allegations contained therein, and on that basis deny
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   the allegations.
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          7.    Answering this paragraph, Defendants lack sufficient information and
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   belief upon which to answer the allegations contained therein, and on that basis deny
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   the allegations.
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          8.    Answering this paragraph, Defendants lack sufficient information and
19 belief upon which to answer the allegations contained therein, and on that basis deny
20 the allegations.
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22                                  “JURISDICTION”
23         9.    Answering this paragraph, Defendants admit that this Court has
24 jurisdiction over this matter.
25         10.   Answering this paragraph, Defendants lack sufficient information and
26 belief upon which to answer the allegations contained therein, and on that basis deny
27 the allegations.
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 1                                     “PARTIES”
 2        11.    Answering this paragraph, Defendants lack sufficient information and
 3 belief upon which to answer the allegations contained therein, and on that basis deny
 4 the allegations.
 5        12.    Answering this paragraph, Defendants lack sufficient information and
 6 belief upon which to answer the allegations contained therein, and on that basis deny
 7 the allegations.
 8        13.    Answering this paragraph, Defendants admit that the City of Los
 9 Angeles is a municipal corporation in the State of California and that it employed a
10 Clifford Proctor and Jonathan Kawahara at all relevant times. As to the remaining
11 allegations, Defendants lack sufficient information and belief upon which to answer
   those allegations, and on that basis deny the allegations.
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          14. Answering this paragraph, Defendants lack sufficient information and
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   belief upon which to answer the allegations contained therein, and on that basis deny
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   the allegations.
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          15. Answering this paragraph, Defendants lack sufficient information and
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   belief upon which to answer the allegations contained therein, and on that basis deny
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   the allegations.
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          16. Answering this paragraph, Defendants lack sufficient information and
19 belief upon which to answer the allegations contained therein, and on that basis deny
20 the allegations.
21        17. Answering this paragraph, Defendants lack sufficient information and
22 belief upon which to answer the allegations contained therein, and on that basis deny
23 the allegations.
24        18.    Answering this paragraph, Defendants lack sufficient information and
25 belief upon which to answer the allegations contained therein, and on that basis deny
26 the allegations.
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 1         19.    Answering this paragraph, Defendants lack sufficient information and
 2 belief upon which to answer the allegations contained therein, and on that basis deny
 3 the allegations.
 4         20.    Answering this paragraph, Defendants admit that Plaintiff filed a claim
 5 for damages with the City of Los Angeles.
 6         21.    Answering this paragraph, Defendants admit that Plaintiff’s claims
 7 were rejected.
 8                “FACTS COMMON TO ALL CAUSES OF ACTION”
 9         22.    Answering this paragraph, Defendants lack sufficient information and
10 belief upon which to answer the allegations contained therein, and on that basis deny
11 the allegations.
           23.    Answering this paragraph, Defendants lack sufficient information and
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     belief upon which to answer the allegations contained therein, and on that basis deny
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     the allegations.
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           24.    Answering this paragraph, Defendants lack sufficient information and
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     belief upon which to answer the allegations contained therein, and on that basis deny
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     the allegations.
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           25.    Answering this paragraph, Defendants lack sufficient information and
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     belief upon which to answer the allegations contained therein, and on that basis deny
19 the allegations.
20        26. Answering this paragraph, Defendants lack sufficient information and
21 belief upon which to answer the allegations contained therein, and on that basis deny
22 the allegations.
23         27.    Answering this paragraph, Defendants lack sufficient information and
24 belief upon which to answer the allegations contained therein, and on that basis deny
25 the allegations.
26         28.    Answering this paragraph, Defendants lack sufficient information and
27 belief upon which to answer the allegations contained therein, and on that basis deny
28 the allegations.

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 1        29.    Answering this paragraph, Defendants lack sufficient information and
 2 belief upon which to answer the allegations contained therein, and on that basis deny
 3 the allegations.
 4        30.    Answering this paragraph, Defendants lack sufficient information and
 5 belief upon which to answer the allegations contained therein, and on that basis deny
 6 the allegations.
 7        31.    Answering this paragraph, Defendants lack sufficient information and
 8 belief upon which to answer the allegations contained therein, and on that basis deny
 9 the allegations.
10                           “FIRST CLAIM FOR RELIEF

11     Unreasonable Search and Seizure – Detention and Arrest (42 U.S.C. §1983)
                            (Against All DEFENDANTS”
12
          32.    Answering this paragraph, which incorporates by reference the
13
     allegations of prior paragraphs of the pleading, Defendants to the same extent
14 incorporate by reference the answers provided herein to those paragraphs.
15
          33. Answering this paragraph, Defendants lack sufficient information and
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   belief upon which to answer the allegations contained therein, and on that basis deny
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   the allegations.
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          34. Answering this paragraph, Defendants lack sufficient information and
19 belief upon which to answer the allegations contained therein, and on that basis deny
20 the allegations.
21        35. Answering this paragraph, Defendants lack sufficient information and
22 belief upon which to answer the allegations contained therein, and on that basis deny
23 the allegations.
24        36.    Answering this paragraph, Defendants lack sufficient information and
25 belief upon which to answer the allegations contained therein, and on that basis deny
26 the allegations.
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 1        37.    Answering this paragraph, Defendants lack sufficient information and
 2 belief upon which to answer the allegations contained therein, and on that basis deny
 3 the allegations.
 4        38.    Answering this paragraph, Defendants lack sufficient information and
 5 belief upon which to answer the allegations contained therein, and on that basis deny
 6 the allegations.
 7                          “SECOND CLAIM FOR RELIEF
 8       Unreasonable Search and Seizure – Excessive Force (42 U.S.C. §1983)
 9                            (Against All DEFENDANTS”
10        39.    Answering this paragraph, which incorporates by reference the

11 allegations of prior paragraphs of the pleading, Defendants to the same extent
   incorporate by reference the answers provided herein to those paragraphs.
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          40. Answering this paragraph, Defendants lack sufficient information and
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   belief upon which to answer the allegations contained therein, and on that basis deny
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   the allegations.
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          41. Answering this paragraph, Defendants lack sufficient information and
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   belief upon which to answer the allegations contained therein, and on that basis deny
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   the allegations.
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          42. Answering this paragraph, Defendants lack sufficient information and
19 belief upon which to answer the allegations contained therein, and on that basis deny
20 the allegations.
21        43. Answering this paragraph, Defendants lack sufficient information and
22 belief upon which to answer the allegations contained therein, and on that basis deny
23 the allegations.
24        44.    Answering this paragraph, Defendants lack sufficient information and
25 belief upon which to answer the allegations contained therein, and on that basis deny
26 the allegations.
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 1         45.     Answering this paragraph, Defendants lack sufficient information and
 2 belief upon which to answer the allegations contained therein, and on that basis deny
 3 the allegations.
 4         46.     Answering this paragraph, Defendants lack sufficient information and
 5 belief upon which to answer the allegations contained therein, and on that basis deny
 6 the allegations.
 7         47.     Answering this paragraph, Defendants lack sufficient information and
 8 belief upon which to answer the allegations contained therein, and on that basis deny
 9 the allegations.
10                            “THIRD CLAIM FOR RELIEF

11               Deprivation of Life Without Due Process - (42 U.S.C. §1983)
                               (Against All DEFENDANTS”
12
           48.     Answering this paragraph, which incorporates by reference the
13
     allegations of prior paragraphs of the pleading, Defendants to the same extent
14
     incorporate by reference the answers provided herein to those paragraphs.
15
           49.     Answering this paragraph, Defendants lack sufficient information and
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     belief upon which to answer the allegations contained therein, and on that basis deny
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     the allegations.
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           50.     Answering this paragraph, Defendants lack sufficient information and
19 belief upon which to answer the allegations contained therein, and on that basis deny
20 the allegations.
21         51.     Answering this paragraph, Defendants lack sufficient information and
22 belief upon which to answer the allegations contained therein, and on that basis deny
23 the allegations.
24         52.     Answering this paragraph, Defendants lack sufficient information and
25 belief upon which to answer the allegations contained therein, and on that basis deny
26 the allegations.
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 1        53.    Answering this paragraph, Defendants lack sufficient information and
 2 belief upon which to answer the allegations contained therein, and on that basis deny
 3 the allegations.
 4        54.    Answering this paragraph, Defendants lack sufficient information and
 5 belief upon which to answer the allegations contained therein, and on that basis deny
 6 the allegations.
 7        55.    Answering this paragraph, Defendants lack sufficient information and
 8 belief upon which to answer the allegations contained therein, and on that basis deny
 9 the allegations.
10        56.    Answering this paragraph, Defendants lack sufficient information and

11 belief upon which to answer the allegations contained therein, and on that basis deny
   the allegations.
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          57. Answering this paragraph, Defendants lack sufficient information and
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   belief upon which to answer the allegations contained therein, and on that basis deny
14
   the allegations.
15
                          “FOURTH CLAIM FOR RELIEF
16
            Interference with parent-Child Relationship - (42 U.S.C. §1983)
17
                             (Against All DEFENDANTS”
18
          58. Answering this paragraph, which incorporates by reference the
19 allegations of prior paragraphs of the pleading, Defendants to the same extent
20 incorporate by reference the answers provided herein to those paragraphs.
21        59. Answering this paragraph, Defendants lack sufficient information and
22 belief upon which to answer the allegations contained therein, and on that basis deny
23 the allegations.
24        60.    Answering this paragraph, Defendants lack sufficient information and
25 belief upon which to answer the allegations contained therein, and on that basis deny
26 the allegations.
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 1        61.    Answering this paragraph, Defendants lack sufficient information and
 2 belief upon which to answer the allegations contained therein, and on that basis deny
 3 the allegations.
 4        62.    Answering this paragraph, Defendants lack sufficient information and
 5 belief upon which to answer the allegations contained therein, and on that basis deny
 6 the allegations.
 7        63.    Answering this paragraph, Defendants lack sufficient information and
 8 belief upon which to answer the allegations contained therein, and on that basis deny
 9 the allegations.
10        64.    Answering this paragraph, Defendants lack sufficient information and

11 belief upon which to answer the allegations contained therein, and on that basis deny
   the allegations.
12
                             “FIFTH CLAIM FOR RELIEF
13
    Municipal Liability for Unconstitutional Custom or Policy - (42 U.S.C. §1983)
14
                  (Against Defendants CITY, BECK and DOES 1-10)”
15
          65. Answering this paragraph, which incorporates by reference the
16
   allegations of prior paragraphs of the pleading, Defendants to the same extent
17
   incorporate by reference the answers provided herein to those paragraphs.
18
          66. Answering this paragraph and all of its subparts, Defendants lack
19 sufficient information and belief upon which to answer the allegations contained
20 therein, and on that basis deny the allegations.
21        67. Answering this paragraph, Defendants lack sufficient information and
22 belief upon which to answer the allegations contained therein, and on that basis deny
23 the allegations.
24        68.    Answering this paragraph, Defendants lack sufficient information and
25 belief upon which to answer the allegations contained therein, and on that basis deny
26 the allegations.
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  1        69.     Answering this paragraph, Defendants lack sufficient information and
  2 belief upon which to answer the allegations contained therein, and on that basis deny
  3 the allegations.
  4        70.     Answering this paragraph, Defendants lack sufficient information and
  5 belief upon which to answer the allegations contained therein, and on that basis deny
  6 the allegations.
  7        71.     Answering this paragraph, Defendants lack sufficient information and
  8 belief upon which to answer the allegations contained therein, and on that basis deny
  9 the allegations.
10         72.     Answering this paragraph, Defendants lack sufficient information and

11 belief upon which to answer the allegations contained therein, and on that basis deny
   the allegations.
12
          73. As this paragraph does not contain any factual allegations, it goes
13
   unanswered.
14
                             AFFIRMATIVE DEFENSES
15
          As separate and distinct affirmative defenses, Defendants allege each of the
16
   following:
17
              FIRST AFFIRMATIVE DEFENSE TO THE COMPLAINT
18
             AND EACH PURPORTED CAUSE OF ACTION THEREIN
19                       (Failure To State A Cause of Action)
20         1.      Defendants allege that the operative complaint on file in this action, nor
21 any of the alleged causes of action therein, state facts sufficient to constitute a cause
22 of action on which relief can be granted against Defendants.
23              SECOND AFFIRMATIVE DEFENSE TO THE COMPLAINT
24               AND EACH PURPORTED CAUSE OF ACTION THEREIN
25                              (Qualified Immunity - Federal)
26         2.      Defendants are protected from liability under the doctrine of qualified
27 immunity because the alleged conduct of Defendants and its employees did not
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  1 violate clearly established statutory or constitutional rights of which a reasonable
  2 person would have known.
  3             THIRD AFFIRMATIVE DEFENSE TO THE COMPLAINT
  4             AND EACH PURPORTED CAUSE OF ACTION THEREIN
  5                                 (Lack of Standing)
  6        3.     Defendants allege that Plaintiff lacks standing to bring any claims
  7 against these Defendants.
  8
      DATED: March 31, 2016         MICHAEL N. FEUER, City Attorney
  9                                 THOMAS H. PETERS, Chief Asst. City Attorney
                                    CORY M. BRENTE, Asst. City Attorney
10
11                                  By:     /S/ Colleen R. Smith
12                                  COLLEEN R. SMITH, Deputy City Attorney
                                    Attorneys for Defendant CITY OF LOS ANGELES
13                                  and CHIEF CHARLIE BECK
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  1                          DEMAND FOR JURY TRIAL
  2       Defendants hereby demand and request a trial by jury in this matter.
  3
  4 DATED: March 31, 2016          MICHAEL N. FEUER, City Attorney
                                   THOMAS H. PETERS, Chief Asst. City Attorney
  5                                CORY M. BRENTE, Asst. City Attorney
  6
                                   By:     /S/ Colleen R. Smith
  7                                COLLEEN R. SMITH, Deputy City Attorney
  8                                Attorneys for Defendant CITY OF LOS ANGELES
                                   and CHIEF CHARLIE BECK
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